 

Case 19-50942-BLS Doc4-1 Filed 12/04/19 Page1lof7

Exhibit A
Scheduled and Filed Claims

 

 

 

Scheduled Claims Filed Claims
Creditor Schedule} Amount | C/U/D] Claim No. Amount | Classification
EDU Advisors, LLC F $13,455.00 | C/U/D

 

Totals

 

 

 

$13,455.00

 

 

 

$0.00

 

 

 

 
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Exhibit B
Commission Payments

Debtor Ck. No. _ Petition Date Clear Date Name Receipts Disbursements
WOODBRIDGE GROUP OF COMPANIES, LLC 28993 12/04/17 11/2717 EDU ADVISORS, LLC $ 3,333.33
WOODBRIDGE GROUP OF COMPANIES, LLC 28993 12/04/17 11/27/17 EDU ADVISORS, LLC $ 5,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 29012 12/04/17 11/27/17 EDU ADVISORS, LLC 1,950.00
WOODBRIDGE GROUP OF COMPANIES, LLC 28665 12/04/17 11/27/17 EDU ADVISORS, LLC 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 28665 12/04/17 11/27/17 EDU ADVISORS, LLC 450.00
WOODBRIDGE GROUP OF COMPANIES, LLC 28665 12/04/17 11/27/17 EDU ADVISORS, LLC 6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 28602 12/04/17 11/27/17, EDU ADVISORS, LLC 1,270.41
WOODBRIDGE GROUP OF COMPANIES, LLC 28602 12/04/17 11/27/17. EDU ADVISORS, LLC 1,575.00
WOODBRIDGE GROUP OF COMPANIES, LLC 28697 12/04/17 11/20/17 EDU ADVISORS, LLC 5,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 28574 12/04/17 11/20/17 EDU ADVISORS, LLC 1,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC 27808 12/04/17 10/17/17 . EDU ADVISORS, LLC 1,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC 27746 12/04/17 10/17/17 EDU ADVISORS, LLC 7,070.00
WOODBRIDGE GROUP OF COMPANIES, LLC 27393 12/04/17 10/11/17 EDU ADVISORS, LLC 5,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 27425 12/04/17 10/11/17 EDU ADVISORS, LLC 583.33
WOODBRIDGE GROUP OF COMPANIES, LLC 27425 12/04/17 10/11/17, EDU ADVISORS, LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 27177 12/04/17 10/11/17 EDU ADVISORS, LLC 76,67
WOODBRIDGE GROUP OF COMPANIES, LLC 27177 12/04/17 10/11/17 EDU ADVISORS, LLC 690.00 '
WOODBRIDGE GROUP OF COMPANIES, LLC 27224 12/04/17 10/11/17 EDU ADVISORS, LLC 1,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC 27116 12/04/17 10/10/17 EDU ADVISORS, LLC 3,500.00
WOODBRIDGE GROUP OF. COMPANIES, LLC 26972 12/04/17 10/10/17 EDU ADVISORS, LLC 5,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26999 12/04/17 10/10/17 EDU ADVISORS, LLC 8,540.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26874 12/0417 10/03/17 EDU ADVISORS, LLC 750.00
‘WOODBRIDGE GROUP OF COMPANIES, LLC 26874 12/04/17 10/03/17 EDU ADVISORS, LLC 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26804 12/04/17 10/03/17 EDU ADVISORS, LLC 1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26805 12/047 10/03/17 EDU ADVISORS, LLC 1,250,00
WOODBRIDGE GROUP OF COMPANIES, LLC 26836 12/04/17 09/2517 EDU ADVISORS, LLC 750.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26551 12/04/17 09/25/17 EDU ADVISORS, LLC 1,625.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26569 12/04/17 09/25/17 EDU ADVISORS, LLC 226.67 :
WOODBRIDGE GROUP OF COMPANIES, LLC 26569 12/04/17 09/25/17 EDU ADVISORS, LLC 4,080.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26570 12/04/17 09/25/17 EDU ADVISORS, LLC 2,100.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26570 12/04/17. 09/25/17 EDU ADVISORS, LLC 4,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26307 12/04/17 09/25/17 EDU ADVISORS, LLC 250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26332 12/04/17 09/25/17 EDU ADVISORS, LLC 1,820.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26361 12/04/17 09/25/17 EDU ADVISORS, LLC 4,375.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26372 12/04/17 09/25/17 EDU ADVISORS, LLC 1,950.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26223 12/04/17 09/21/17 EDU ADVISORS, LLC 5,005.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26224 12/04/17 09/21/17 EDU ADVISORS, LLC 1,625.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26647 12/0417 09/18/17 EDU ADVISORS, LLC 6,875.00
WOODBRIDGE.GROUP OF COMPANIES, LLC 26647 12/04/17 09/18/17 EDU ADVISORS, LLC 9,000.00 |
WOODBRIDGE GROUP OF COMPANIES, LLC 26034 12/04/17 09/11/17 EDU ADVISORS, LLC. 1,750,00 :
WOODBRIDGE GROUP OF COMPANIES, LLC 26034 12/04/17 09/11/17 EDU ADVISORS, LLC 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 26034 12/04/17 09/11/17 EDU ADVISORS, LLC 125.00 '
WOODBRIDGE GROUP OF COMPANIES, LLC 25950 12/04/17 09/11/17 EDU ADVISORS, LLC 7,250.00 i
WOODBRIDGE GROUP OF COMPANIES, LLC 25951 12/04/17 09/11/17 EDU ADVISORS, LLC 1,040.00 i
WOODBRIDGE GROUP OF COMPANIES, LLC 25557 12/04/17 09/11/17 EDU ADVISORS, LLC : 1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25558 12/04/17 09/11/17 EDU ADVISORS, LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25559 12/04/17 09/11/17 EDU ADVISORS, LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25560 12/04/17 09/11/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25889 12/04/17 09/06/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25889 12/04/17 09/06/17. EDU ADVISORS, LLC . 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25890 12/04/17 09/06/17 EDU ADVISORS, LLC 625,00
WOODBRIDGE GROUP OF COMPANIES, LLC 25890 12/04/17 09/06/17 EDU ADVISORS, LLC 1,375.00
‘WOODBRIDGE GROUP OF COMPANIES, LLC 25891 12/04/17 09/06/17 EDU ADVISORS, LLC 1,943.33
WOODBRIDGE GROUP. OF COMPANIES, LLC 25891 12/04/17 09/06/17 EDU ADVISORS, LLC 1,325.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25891 12/04/17 09/06/17 EDU ADVISORS, LLC 6,360.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25845 12/04/17 09/06/17 EDU ADVISORS, LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25364 12/04/17 09/06/17 EDU ADVISORS, LLC 2,080.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25366 12/04/17 09/06/17 EDU ADVISORS, LLC 1,840.00

TOTALS - 90 DAY 25,558.74 137,025.00

NET DISBURSEMENTS - 90 DAY 111,466.26
WOODBRIDGE GROUP OF COMPANIES, LLC 25192 12/04/17 08/22/17 EDU ADVISORS, LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25193 12/04/17 08/22/17 EDU ADVISORS, LLC 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25194 12/04/17 08/22/17 EDU ADVISORS, LLC 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25195 12/04/17 08/22/17 EDU ADVISORS, LLC 1,680.00
WOODBRIDGE GROUP OF COMPANIES, LLC 25133 12/04/17 08/22/17 EDU ADVISORS, LLC 900,00
WOODBRIDGE GROUP OF COMPANIES, LLC 25002 12/04/17 08/22/17 EDU ADVISORS, LLC 5,220.00

 
 

 

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Exhibit B
Commission Payments
Debtor Ck. No. Petition Date Clear Date_ Name Receipts Disbursements
WOODBRIDGE GROUP OF COMPANIES, LLC 25002 12/04/17 08/22/17 EDU ADVISORS, LLC 10,740.00
WOODBRIDGE GROUP OF COMPANIES, LLC 24775 12/04/47 08/14/17 EDU ADVISORS, LLC 10,815.00
WOODBRIDGE GROUP OF COMPANIES, LLC 24546 12/04/17 08/14/17 EDU ADVISORS, LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 24547 12/04/17 08/14/17 EDU ADVISORS, LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 24302 12/04/17 08/14/17 EDU ADVISORS, LLC 1,917.45
WOODBRIDGE GROUP OF COMPANIES, LLC 24303 12/04/17 08/14/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 24233 12/04/17 08/14/17 EDU ADVISORS, LLC 312.50
WOODBRIDGE GROUP OF COMPANIES, LLC 24233 12/04/17 08/14/17 EDU ADVISORS, LLC 62,50
WOODBRIDGE GROUP OF COMPANIES, LLC 24077 12/04/17 08/03/17 EDU ADVISORS, LLC 1,458.33
WOODBRIDGE.GROUP OF COMPANIES, LLC 24077 12/04/17 08/03/17 EDU ADVISORS, LLC 3,255.00
WOODBRIDGE GROUP OF COMPANIES, LLC 24078 12/04/17 08/03/17 EDU ADVISORS, LLC 1,750.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23832 12/04/17 08/03/17 EDU ADVISORS, LLC $,000,00
WOODBRIDGE GROUP OF COMPANIES, LLC 23833 12/04/17 08/03/17, EDU ADVISORS, LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23940 12/04/17 08/03/17 EDU ADVISORS, LLC 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23545 12/04/17 07/2417 EDU ADVISORS, LLC 1,750.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23546 12/04/17 07/24/17 EDU ADVISORS, LLC 2,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23547 12/04/17 07/24/17 EDU ADVISORS, LLC 783.33
WOODBRIDGE GROUP OF COMPANIES, LLC 23547 12/04/17 07/24/17 EDU ADVISORS, LLC 587.50
WOODBRIDGE GROUP OF COMPANIES, LLC 23547 12/04/17 07/24/17 EDU ADVISORS, LLC 2,350.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23548 12/04/17 07/2417 EDU ADVISORS, LLC 312,50
WOODBRIDGE GROUP OF COMPANIES, LLC 23548 12/04/17 07/24/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23549 12/04/17 07/24/17 EDU ADVISORS, LLC 750.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23549 12/04/17 07/24/17 EDU ADVISORS, LLC 875,00
WOODBRIDGE GROUP OF COMPANIES, LLC 23433 12/04/17 - 07/21/17 EDU ADVISORS, LLC 4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23434 12/04/17 07/21/17 EDU ADVISORS, LLC 1,000.00
WOODBRIDGE GROUP. OF COMPANIES, LLC 23435 12/04/17 07/21/17 EDU ADVISORS, LLC 4,000.00
WOODBRIDGE GROUP.OF COMPANIES, LLC 23436 12/04/17 07/21/17 EDU ADVISORS, LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23285 12/04/17 07/18/17, EDU ADVISORS, LLC 1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23286 12/04/17 07/18/17 EDU ADVISORS, LLC 2,100.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23287 12/04/17 07/18/17 EDU ADVISORS, LLC 1,890.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23288 12/04/17 07/18/17 EDU ADVISORS, LLC 4,381.52
WOODBRIDGE GROUP OF COMPANIES, LLC 23289 12/04/17 07/18/17 EDU ADVISORS, LLC 1,370.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23290 12/04/17 07/18/17 EDU ADVISORS, LLC 5,460.00
WOODBRIDGE GROUP OF COMPANIES, LLC 23186 12/04/17 07/18/17 EDU ADVISORS, LLC 4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC~ 23015 12/04/17 07/11/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 22651 12/04/17 07/0517 EDU ADVISORS, LLC 3,333.33
WOODBRIDGE GROUP OF COMPANIES, LLC 22651 12/04/17 07/05/17 EDU ADVISORS, LLC 6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 22708 12/04/17 07/05/17 EDU ADVISORS, LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 22709 12/04/17 07/05/17 EDU ADVISORS, LLC 5,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 22398 12/04/17 06/23/17 EDU ADVISORS, LLC 2,240.00
WOODBRIDGE GROUP OF COMPANIES, LLC 22399 12/04/17 06/23/17 EDU ADVISORS, LLC 2,030.00
WOODBRIDGE GROUP OF COMPANIES, LLC 22400 12/04/17 06/23/17 EDU ADVISORS, LLC 5,450.00
WOODBRIDGE GROUP OF COMPANIES, LLC 22401 12/04/17 06/23/17 EDU ADVISORS, LLC 7,140.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21561 12/04/17 05/31/17 EDU ADVISORS, LLC 875.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21127 12/0417 05/31/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21128 12/04/17 05/31/17 EDU ADVISORS, LLC 1,600.00 i
WOODBRIDGE GROUP OF COMPANIES, LLC 21129 12/04/17 05/31/17 EDU ADVISORS, LLC 3,750.00 :
WOODBRIDGE GROUP OF COMPANIES, LLC 21371 12/04/17 05/26/17 EDU ADVISORS, LLC 255.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21365 12/04/17 05/26/17 EDU ADVISORS, LLC 5,833.33
WOODBRIDGE GROUP OF COMPANIES, LLC 21365 12/04/17 05/26/17 EDU ADVISORS, LLC 6,900.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21070 12/04/17 05/23/17 EDU ADVISORS, LLC 2,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21071 12/04/17 05/23/17 EDU ADVISORS, LLC 2,708.33
WOODBRIDGE GROUP OF COMPANIES, LLC 21071 12/04/17 05/23/17 EDU ADVISORS, LLC 8,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21072 12/04/17 05/23/17 EDU ADVISORS, LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21007 12/04/17 05/19/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 21053 12/04/17 05/19/17 EDU ADVISORS, LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 20738 12/04/17 05/19/17 EDU ADVISORS, LLC 416.67
WOODBRIDGE GROUP OF COMPANIES, LLC 20738 12/04/17 05/19/17 EDU ADVISORS, LLC 1,000.00
WOODBRIDGE GROUP.OF COMPANIES, LLC 20739 12/04/17 05/19/17 EDU ADVISORS, LLC 2,527.78
WOODBRIDGE GROUP OF COMPANIES, LLC 20739 12/04/17 05/19/17 EDU ADVISORS, LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 20510 12/04/17 05/02/17 EDU ADVISORS, LLC 4,112.50
WOODBRIDGE GROUP OF COMPANIES, LLC 20288 12/04/17 04/28/17 EDU ADVISORS, LLC 4,745.00
WOODBRIDGE GROUP OF COMPANIES, LLC 20063 12/04/17 04/24/17 EDU ADVISORS, LLC 20,625.00
WOODBRIDGE GROUP OF COMPANIES, LLC 19940 12/04/17 04/17/17 EDU ADVISORS, LLC 2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 1994] 12/04/17 04/17/17 EDU ADVISORS, LLC 2,340.00
WOODBRIDGE GROUP OF COMPANIES, LLC 19649 12/04/17 04/04/17 EDU ADVISORS, LLC 7,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 19650 12/04/17 04/04/17 EDU ADVISORS, LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 19651 12/04/17. 04/04/17 EDU ADVISORS, LLC 7,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 19652 12/04/17 04/04/17 EDU ADVISORS, LLC 1,375.00

 
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Exhibit B

Commission Payments

 

Debtor Ck. No. _ Petition Date Clear Date Name Receipts Disbursements
WOODBRIDGE GROUP. OF COMPANIES, LLC 19527 12/04/17 04/04/17 EDU ADVISORS, LLC 7,080.00
WOODBRIDGE GROUP OF COMPANIES, LLC 19529 12/04/17 04/04/17 EDU ADVISORS, LLC 601.66
WOODBRIDGE GROUP OF COMPANIES, LLC 19277 12/04/17 03/24/17 EDU ADVISORS, LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 19242 12/04/17 03/21/17 EDU ADVISORS, LLC 1,275.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18868 12/04/17 03/21/17 EDU ADVISORS, LLC 250,00
WOODBRIDGE GROUP OF COMPANIES, LLC 18868 12/04/17 03/21/17 EDU ADVISORS, LLC 62.50
WOODBRIDGE GROUP OF COMPANIES, LLC 18905 12/04/17 03/20/17 EDU ADVISORS, LLC 2,585.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18906 12/04/17 03/20/17 EDU ADVISORS, LLC 4,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18599 12/04/17 03/06/17 EDU ADVISORS, LLC 1,875.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18600 12/04/17 03/06/17 EDU ADVISORS, LLC 7,575.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18601 12/04/17 03/06/17 EDU ADVISORS, LLC 5,700.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18520 12/04/17, 03/06/17 EDU ADVISORS, LLC 2,000.00

WOODBRIDGE GROUP OF COMPANIES, LLC 18520 12/04/17 03/06/17 EDU ADVISORS, LLC 30,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18382 12/04/17 02/27/17 EDU ADVISORS, LLC 1,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18168 12/04/17 02/27/17 EDU ADVISORS, LLC 1,500.00
WOODBRIDGE GROUP.OF COMPANIES, LLC 18020 12/04/17 02/22/17 EDU ADVISORS, LLC 9,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 18021 12/04/17 02/22/17 EDU ADVISORS, LLC 125,00 :
WOODBRIDGE GROUP OF COMPANIES, LLC 18021 12/04/17 02/22/17 EDU ADVISORS, LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 17718 12/04/17 02/06/17 EDU ADVISORS, LLC 5,001.00
WOODBRIDGE GROUP OF COMPANIES, LLC 17280 12/04/17 02/01/17 EDU ADVISORS, LLC 16,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 17224 12/04/17 02/01/17 EDU ADVISORS, LLC 15,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 17225 12/04/17 02/01/17 EDU ADVISORS, LLC 1,875.00
WOODBRIDGE GROUP OF COMPANIES, LLC 17226 12/04/17 02/01/17 EDU ADVISORS, LLC 4,185.00
WOODBRIDGE-GROUP OF COMPANIES, LLC 17172 12/04/17 01/23/17, EDU ADVISORS, LLC 3,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 17173 12/04/17 01/23/17, EDU_ADVISORS, LLC 6,412.50
WOODBRIDGE GROUP OF COMPANIES, LLC 17174 12/04/17 01/23/17 EDU ADVISORS, LLC 6,265.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16937 12/04/17 01/18/17 EDU ADVISORS, LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16938 12/04/17 01/18/17 EDU ADVISORS, LLC . 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16873 12/04/17 01/18/17 EDU ADVISORS, LLC 14,166.67

WOODBRIDGE GROUP OF COMPANIES, LLC 16873 12/047 01/18/17 EDU ADVISORS, LLC 15,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16874 12/04/17 01/18/17 EDU ADVISORS, LLC 4,416.67

WOODBRIDGE GROUP OF COMPANIES, LLC 16874 12/04/17 01/18/17 EDU ADVISORS, LLC 6,360.00
WOODBRIDGE GROUP OF.COMPANIES, LLC 16875 12/04/17 01/18/17 EDU ADVISORS, LLC 1,041.67

WOODBRIDGE GROUP OF COMPANIES, LLC 16897 12/04/17 01/18/17 EDU WEALTH ADVISORS LLC 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16875 12/04/17 01/18/17 EDU ADVISORS, LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16828 12/04/17 01/13/17 EDU WEALTH ADVISORS LLC 1,750.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16520 12/04/17 01/09/17 EDU WEALTH ADVISORS LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16521 12/04/17. 01/09/17 EDU WEALTH ADVISORS LLC 1,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16522 12/04/17 01/09/17 EDU WEALTH ADVISORS LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16523 12/04/17 01/09/17 EDU WEALTH ADVISORS LLC 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16407 12/04/17 01/09/17. EDU WEALTH ADVISORS LLC 10,650.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16461 12/04/17 01/09/17 EDU WEALTH ADVISORS LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 16256 12/04/17 01/05/17 EDU WEALTH ADVISORS LLC 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15873 42/04/17 12/19/16 EDU WEALTH ADVISORS LLC 7,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15774 12/04/17 12/19/16 EDU WEALTH ADVISORS LLC 2,700.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15680 12/04/17 12/19/16 EDU WEALTH ADVISORS LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15681 12/04/17 12/19/16 EDU WEALTH ADVISORS LLC 2,175.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15505 12/04/17 12/07/16 EDU WEALTH ADVISORS LLC 960.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15506 12/04/17 12/07/16 EDU WEALTH ADVISORS LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15507 12/04/17 12/07/16 EDU.WEALTH ADVISORS LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15392 12/04/17 12/05/16 EDU WEALTH ADVISORS LLC 15,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15393 12/04/17 12/05/16 EDU WEALTH ADVISORS LLC 1,762.50

WOODBRIDGE GROUP OF COMPANIES, LLC 15393 12/04/17 12/05/16. EDU WEALTH ADVISORS LLC 2,350:00
WOODBRIDGE GROUP.OF COMPANIES, LLC 15313 12/04/17 12/01/16 EDU WEALTH ADVISORS LLC 562.50

WOODBRIDGE GROUP OF COMPANIES, LLC 15343 12/04/17 12/01/16 EDU WEALTH ADVISORS LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15213 12/04/17 12/01/16 EDU WEALTH ADVISORS LLC 187,50
WOODBRIDGE GROUP OF COMPANIES, LLC 15213 12/04/17 12/01/16 EDU WEALTH ADVISORS LLC 125.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14983 12/04/17 11/23/16 EDU WEALTH ADVISORS LLC 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15020 12/04/17 11/23/16 EDU WEALTH ADVISORS LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15021 12/04/17 11/23/16 EDU WEALTH ADVISORS LLC 5,075.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15022 12/04/17 11/23/16 EDU WEALTH ADVISORS LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 15023 12/04/17 11/23/16 EDU WEALTH ADVISORS LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14642 12/04/17 11/146 EDU WEALTH ADVISORS LLC 6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14462 12/04/17 11/07/16 EDU WEALTH ADVISORS LLC 5,300.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14306 12/04/17 11/07/16 EDU WEALTH ADVISORS LLC 13,420.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14307 12/04/17 11/07/16 EDU WEALTH ADVISORS LLC 10,440.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14308 12/04/17 11/07/16 EDU WEALTH ADVISORS LLC 4,080.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14309 12/04/17 11/07/16 EDU WEALTH ADVISORS LLC 3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14310 12/04/17 11/07/16 EDU WEALTH ADVISORS LLC 4,620.00

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Exhibit B

Commission Payments

Disbursements

 

 

Debtor Ck. No. _ Petition Date Clear Date Name Receipts
WOODBRIDGE GROUP OF COMPANIES, LLC 14215 12/04/17 11/02/16 EDU WEALTH ADVISORS LLC 920.00
WOODBRIDGE GROUP OF COMPANIES, LLC 14022 12/04/17 10/26/16 EDU WEALTH ADVISORS LLC 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13847 12/04/17 10/20/16 EDU WEALTH ADVISORS LLC 17,640.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13678 12/04/17 10/18/16 EDU WEALTH ADVISORS LLC 3,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13679 12/04/17 10/18/16. EDU WEALTH ADVISORS LLC 4,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13434 12/04/17 10/07/16 EDU WEALTH ADVISORS LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13435 12/04/17 10/07/16 EDU WEALTH ADVISORS LLC 2,250,00
WOODBRIDGE GROUP OF COMPANIES, LLC 13415 12/04/17 10/07/16 EDU WEALTH ADVISORS LLC 2,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13309 12/04/17 10/04/16 EDU WEALTH ADVISORS LLC 6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13228 42/04/17 10/03/16 EDU WEALTH ADVISORS LLC 4,080.00
WOODBRIDGE GROUP OF COMPANIES, LLC 13184 12/04/17 09/29/16 EDU WEALTH ADVISORS LLC . 14,880.00
WOODBRIDGE GROUP OF COMPANIES, LLC 10099 12/04/17 09/22/16 EDU WEALTH ADVISORS LLC 2,380.00
WOODBRIDGE GROUP OF COMPANIES, LLC 10100 12/04/17 09/22/16 EDU WEALTH ADVISORS LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9576 12/04/17 09/13/16 EDU WEALTH ADVISORS LLC 2,380.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9577 12/04/17 09/13/16 EDU WEALTH ADVISORS LLC 18,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9441 12/04/17 09/02/16 EDU WEALTH ADVISORS LLC 2,350,00
WOODBRIDGE GROUP OF COMPANIES, LLC 9316 12/04/17 09/01/16 EDU WEALTH ADVISORS LLC 2,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9211 12/04/17 08/26/16 EDU WEALTH ADVISORS LLC 1,300.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9212 12/04/17 08/26/16 EDU WEALTH ADVISORS LLC 4,788.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9125 12/04/17 08/23/16 EDU WEALTH ADVISORS LLC 2,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9127 12/04/17 08/23/16. EDU WEALTH ADVISORS LLC 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 9128 12/04/17 08/23/16 EDU WEALTH ADVISORS LLC. 5,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC 8883 12/04/17 08/23/16 EDU WEALTH ADVISORS LLC 1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC 8318 12/04/17 08/10/16 EDU WEALTH ADVISORS LLC 1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC 8129 12/04/17 08/01/16 EDU WEALTH ADVISORS LLC 5,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC 8130 12/04/17 08/01/16 EDU WEALTH ADVISORS LLC 1,840.00
WOODBRIDGE GROUP OF COMPANIES, LLC 8131 12/04/17 08/01/16 EDU WEALTH ADVISORS LLC 11,360.00
WOODBRIDGE GROUP OF COMPANIES, LLG 8134 12/04/17 08/01/16 EDU WEALTH ADVISORS LLC 1,680.00
WOODBRIDGE GROUP OF COMPANIES, LLC 7452 12/04/17 07/20/16 EDU WEALTH ADVISORS LLC 6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 7336 12/04/17 07/06/16 “ EDU WEALTH ADVISORS LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 7337 12/04/17 07/06/16 EDU WEALTH ADVISORS LLC 6,300.00
WOODBRIDGE GROUP OF COMPANIES, LLC 727) 12/04/17 07/06/16 EDU WEALTH ADVISORS LLC 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 7154 12/04/17 07/06/16 EDU WEALTH ADVISORS LLC 1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC 7011 12/04/17 06/30/16 EDU WEALTH ADVISORS LLC 1,000,00
WOODBRIDGE GROUP OF COMPANIES, LLC 6735 12/04/17 06/20/16 EDU WEALTH ADVISORS LLC 7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 6736 12/04/17 06/20/16 EDU WEALTH ADVISORS LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 6522 12/04/17. 06/17/16 EDU WEALTH ADVISORS LLC 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 6523 12/04/17 06/17/16 EDU WEALTH ADVISORS LLC 1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC 5699 12/04/17 05/23/16 EDU WEALTH ADVISORS LLC 4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 5503 12/04/17 05/23/16 EDU WEALTH ADVISORS LLC 1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC 5504 12/04/17 05/23/16 EDU WEALTH ADVISORS LLC 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC 5196 12/04/17 05/16/16 EDU WEALTH ADVISORS LLC 1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC 5245 12/04/17 05/16/16 EDU WEALTH ADVISORS LLC 1,000.00
, TOTALS - 2 YEAR (INCL. 90 DAY) $ 73,564.85 $ 837,654.63
NET. DISBURSEMENTS - 2 YEAR (INCL. 90 DAY) $ 764,089.78
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Exhibit C
Schedule of Claims Contributed by Investors
Broker(s): EDU Wealth Advisors, LLC / Roger Dobrovodsky

Outstanding Investor
Principal Amounts

Net/Allowed
Claim Amounts

 

 

Investor Name Class 3 Class 5 Class 3 Class 5
ALAN L & MARY L HORNADAY $ 100,000.00 $ - $ 94,716.67 $ -
ALMA M COOK 100,000.00 - 95,901.37 -
ANTHONY R FERRARO LT 230,000.00 - 220,944.16 -
BRUCE A BIGELOW 80,000.00 - 79,108.33 -
CARL E KIRK 100,000.00 - 92,666.61 -
CAROLE E BARNABY 68,400.00 - 63,395.40 -
CAROLYN D GORNICK 40,000.00 - 37,060.00 -
CHARLES J & CAROLYN G TROUTMAN 30,000.00 - 29,720.42 -
CLARENCE P & PHYLLIS C SMITH 25,000.00 - 24,364.56 -
CURTIS R LIPE , 25,000.00 : 24,819.44 -
CYNTHIA M LEPPERT 72,000.00 - 68,560.72 -
DOLORES J SCARDINE 25,000.00 - 24,378.46 -
ELIZABETH ORRICK 105,000.00 - 95,147.50 -
ESTHER C FERRARO 40,000.00 - 39,153.33 -
FLETCHER L & DEBORAH K VINES 40,000.00 - 37,073.33 -
FRANCIS M & PHYLLIS A LINEBACK 50,000.00 - 48,460.42 -
FREDERICK L HELLMANN , 40,000.00 - 37,027.72 -
GLORIA J CLAPP 50,000.00 - 48,687.52 -
GRACE H WIREMAN 100,000.00 - 93,333.33 -
HELEN LOUISE BROWN 30,000.00 - 28,705.00 -
IRA SVCS TR CO-CFBO BRUCE A BIGELOW IRA 78,000.00 - 75,339.27 -
IRA SVCS TR CO-CFBO CAROL E BARNABY IRA 34,000.00 - 31,569.00 -
IRA SVCS TR CO-CFBO CHARLES D WISNER IRA 68,000.00 - 63,376.00 “
IRA SVCS TR CO-CFBO CHARLES P DAUS IRA 30,000.00 - 28,770.42 -
IRA SVCS TR CO-CFBO CHRISTOPHER K STEWART 122,000.00 - 120,719.00 -
IRA SVCS TR CO-CFBO COLLEEN K FINLEY [RA 90,000.00 - 82,680.00 -
IRA SVCS TR CO-CFBO DARYL J ST PIERRE 141,000.00 - 125,482.96 -
IRA SVCS TR CO-CFBO DONALD FLORENCE ROTH 31,000.00 - 25,895.38 -
IRA SVCS TR CO-CFBO DONNA L DANISH IRA. 138,000.00 - 130,041.71 -
IRA SVCS TR CO-CFBO GERALD M ARNETT IRA 32,000.00 - 31,024.00 -
IRA SVCS TR CO-CFBO GRACE H WIREMAN IRA 72,500.00 - 68,065.42 -
IRA SVCS TR CO-CFBO HAROLD D HUTTON IRA 25,000.00 - 23,578.09 -
IRA SVCS TR CO-CFBO JANET R WOODS IRA 29,000.00 - 27,204.05 -
IRA SVCS TR CO-CFBO JOHN M BERWICK IRA 29,000.00 - 28,018.83 -
IRA SVCS TR CO-CFBO JOYCE A STOCK 70,000.00 - 67,005.52 _ -
IRA SVCS TR CO-CFBO JUDITH A GLAZE 46,500.00 - 45,515.75 -
IRA SVCS TR CO-CFBO KAREN S HAAK IRA 260,000.00 - 241,280.00 -
IRA SVCS TR CO-CFBO KENNETH G WALLS IRA 244,000.00 - 229,536.26 -
IRA SVCS TR CO-CFBO LISA J MILES 68,000.00 - 64,046.42 -
IRA SVCS TR CO-CFBO MELINDA K WHEELER IRA 52,000.00 - 48,569.39 -
IRA SVCS TR CO-CFBO MICHAEL D FISHEL IRA 100,000.00 - 94,233.33 -
IRA SVCS TR CO-CFBO MICHAEL DOOLITTLE IRA 155,800.00 248,000.00 139,647.09 222,288.06
IRA SVCS TR CO-CFBO MICHAEL S SHELTON IRA 27,000.00 - 26,266.25 -
IRA SVCS TR CO-CFBO NATALIE M CORNETT IRA 147,000.00 - 138,293.51 -
IRA SVCS TR CO-CFBO NEAL A COLSON IRA 47,000.00 - 45,197.65 -
IRA SVCS TR CO-CFBO ROBERT G HAAK IRA 34,000.00 - 31,552.00 -
IRA SVCS TR CO-CFBO ROBERT P OTT IRA 39,000.00 - 37,492.00 -
IRA SVCS TR CO-CFBO RONALD K ROSS IRA 30,000.00 - 28,491.67 -
IRA SVCS TR CO-CFBO SAMUEL E GOLDEN IRA 109,000.00 - 106,229.56 -
IRA SVCS TR-CO-CFBO SANDRA S WALLS 179,000.00 - 168,417.67 -
IRA SVCS TR CO-CFBO SHARI D MILLS IRA 58,750.00 - 56,732.92 -
IRA SVCS TR CO-CFBO TERRY L COVINGTON IRA 138,000.00 - 134,339.17 -
IRA SVCS TR CO-CFBO WALTER H GILBO - 119,000.00 - 114,339.15
IRA SVCS TR CO-CFBO WILLIAM C WORLAND IRA 46,000.00 - 43,022.73 -
JACK D GWALTNEY 25,000.00 - 23,305.50 -

 
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Schedule of Claims Contributed by Investors

 

 

Investor Name Class 3 Class 5 Class 3 Class 5
JACK D GWALTNEY LT 101,000.00 - 97,560.60 -
JACK W & PATRICIA A WATKINS KEYSTONE TR 100,000.00 - 94,016.67 -
JAMES C & DIANE C WAHL 30,000.00 - 30,000.00 -
JAMES K & MALLIE V MCDOLE 26,000.00 - 25,731.33 -
JAMES R & SHIRLEY L LIMP 100,000.00 - 97,416.67 -
JAMES YEE 25,000.00 - 23,593.71 -
JASPER N DIRLAM RT 25,000.00 - 23,545.87 -
JOAN HELLMANN 40,000.00 - 37,829.80 -
JOHN J MOELLER 100,000.00 - 98,666.67 -
JOHN M & KATHY J BERWICK 25,000.00 - 23,789.59 -
JOHNNY L & CLAUDIA F LANE 25,000.00 - 24,483.33 -
KENNETH W BRINGLE 50,000.00 - 47,008.33 -
LARRY A WHYBREW 100,000.00 - 94,059.69 -
LAWRENCE L & BRENDA J TUNGATE 40,000.00 - 39,222.91 -
LESLIE N & JEANETTE M GRADY 100,000.00 - 95,083.30 -
MAINSTAR-FBO ALBERT T WILKINS 100,000.00 - 99,770.83 -
MAINSTAR-FBO CAROL A COLSON 101,000.00 - 100,343.50 -
MAINSTAR-FBO CASSANDRA JEFFERSON 25,000.00 - 23,758.68 -
MAINSTAR-FBO DONALD G SETTERLOF 142,000.00 118,000.00 131,578.93 109,340.23
MAINSTAR-FBO DONNA HARRIS-BROOKS 23,000.00 - 21,547.17 -
MAINSTAR-FBO JOHN L BILTZ 100,000.00 - 99,652.78 -
MAINSTAR-FBO LINDA DUVALL - 83,350.00 - 76,010.57
MAINSTAR-FBO MARGARET A SETTERLOF 85,500.00 - 80,421.06 -
MARCIA A GATLIN 30,000.00 - 28,154.17 , -
MARY L MILLER 106,000.00 - 99,687.14 -
MAUREEN L FERGUSON 30,000.00 - 28,455.00 -
MICHAEL BROWNING 200,000.00 - 187,541.70 -
MICHAEL C & LINDA J CLIFTON 45,000.00 - 42,512.50 -
MICHAEL L TETER RT 125,000.00 - 119,955.54 -
MIRIAM L HOGG 100,000.00 - 97,916.65 -
NORMA E CHEATHAM 25,000.00 - 23,274.25 -
PHYLLIS A PARKER 25,000.00 - 23,712.50 -
PHYLLIS F GOLDMAN 30,000.00 - 26,861.67 -
PROV. TR GP-FBO RICHARD P GALLAMORE IRA 100,000.00 - 92,966.67 -
RAYMOND J & JUDY L CRADY 50,000.00 - 46,645.89 -
RICHARD A & PATRICIA A EICKHOLTZ - 200,000.00 - 183,027.84
RICHARD F MERRION LT 25,000.00 - 23,762.50 -
ROBERT. _C RAHKE 100,000.00 - 86,440.85 -
ROBERT M PAQUIN 25,000.00 - 24,774.66 -
SANDRA § FINKENBINE SUPP TR 50,000.00 - 46,507.00 -
SARAH F PERRAS : : 25,000.00 - 23,433.98 -
SHARON L GOBER 50,000.00 ~ 47,316.67 -
SHIRLEY R DENIS 80,000.00 - 74,133.33 -
STEVEN M & DIANA L RAINS 50,000.00 - 47,425.00 -
TED B CHEN 40,000.00 - 37,261.06 -
THE KNOWLSON FT 75,000.00 - 69,175.00 -
THE MYRON R & CAROL L LAGRANGE RLT 150,000.00 - 143,450.00 -
THOMAS E DELLINGER 25,000.00 - 24,503.46 -
WALTER K & RUTH A VEALE 40,000.00 - 38,949.98 -
WAYNE A & BETTY J STURTEVANT 125,000.00 - 122,802.03 -
YOSHIKO Y ESTES 73,000.00 - 70,713.70 -
Totals $ 7,408,450.00 | $ 768,350.00 _$7,021,577.13  $ 705,005.85

 

 
